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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


EDRICK FLOREAL-WOOTEN; JEREMIAH LITTLE;
JULIO GONAZALES; DAYMAN BLACKBURN;
THOMAS FRITCH                                                                          PLAINTIFFS

                                 VS.     NO. 5:22-cv-05011-TLB


TIM HELDER, SHERIFF OF WASHINGTON COUNTY,
ARKANSAS, in his individual capacity;
KARAS CORRECTIONAL HEALTH, P.L.L.C;
DR. ROBERT KARAS, M.D., in his individual capacity                                 DEFENDANTS

          DEFENDANTS’ NOTICE OR ALTERNATIVE MOTION FOR LEAVE TO
                SUPPLEMENT MOTION FOR SUMMARY JUDGMENT

          Come now, Defendants, by and through Undersigned Counsel, and for their Notice or

Alternative Motion for Leave to Supplement Motion for Summary Judgment herein state and

allege:

          1.    The claims in this case (the actual claims as reflected in the Counts of the Amended

Complaint) have been exhaustively detailed in various motions including Defendants’ recent

Motion for Summary Judgment and attached materials.

          2.    One facet (but perhaps not an actual claim in the lawsuit) is the Plaintiffs’ continued

assertions that the FDA prohibits or recommends against the use of Ivermectin for treatment of

COVID-19. That was exhaustively dispelled in the Brief in Support of Motion for Summary

Judgment at Doc. No. 76, pp. 1-2, 6-11. Indeed, in a “tweet” the FDA literally said “Stop it”

regarding the use of Ivermectin to treat COVID. @US_FDA, Twitter (or X, or whatever it’s called

now) 21 August 2021.

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       3.      Nevertheless, Plaintiffs can no longer lean on vague statements by the FDA any

longer. In the below-noted case, the article below reports that a Department of Justice lawyer,

Ashley Cheung Honold, conceded before the Fifth Circuit Court of Appeals on August 8, 2023, in

oral argument on appeal from the District Court in Texas: “FDA explicitly recognizes that doctors

do have the authority to prescribe ivermectin to treat COVID.” See https://mustreadalaska.com,

Article of August 11, 2023, by Suzanne Downing entitled “Feds admit in court: Doctors have the

right to prescribe Ivermectin for Covid.” Indeed, one of the Judges on the Court of Appeals panel,

Judge Jennifer Walker Elrod is reported in the above article about asking the FDA Counsel whether

the FDA “tweet” “No, stop it,” was a command during the oral argument. The FDA retorted via

Counsel that such statements were “merely quips,” according to the article, and that they did not

prohibit doctors from prescribing ivermectin. https://mustreadalaska.com, Article of August 11,

2023, by Suzanne Downing entitled “Feds admit in court: Doctors have the right to prescribe

Ivermectin for Covid.” See also https://www.courthousenews.com/ivermectin-proponents-ask-

fifth-circuit-to-revive-lawsuit-against-fda/. In the latter article, Counsel Honold’s statement was

characterized as follows: “She characterized the agency’s ivermectin warnings as informational

statements, and stressed they are not regulations, they have no legal consequences, and they don’t

bar doctors from prescribing Ivermectin to treat Covid or for any other purpose.” The above-noted

alleged concession and this statement are no different.

       4.      The case originated in the United States District Court of Texas, Southern District

of Texas, Galveston Division at NO. 3:22-cv-184. The Parties are Robert L. Apter, M.D, FACEP

et al. v. Department of Health and Human Services, Xavier Becerra, in his official capacity as

Secretary of Health and Human Services, Food and Drug Administration; and Robert M. Califf,

M.D., MACC, in his official capacity as Commissioner of Food and Drugs. 2022 WL 17578869
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(S.D. Tex., Galveston Div. Dec. 6, 2022). The District Court dismissed the initial case under

sovereign immunity grounds since federal government actors are Defendants and since the FDA

did everything it could to disavow that the statements it has issued regarding Ivermectin to treat

COVID were not attempts to limit how physicians practice medicine via prescriptions of already

FDA approved medicines. And, that worked for the FDA and the District Court dismissed the case

stating, inter alia, “[t]he [FDA] statements here do not outline the agency’s legal position on a

doctor’s authority to prescribe ivermectin to patients and the possible consequences of doing so,

or how a doctor can avoid facing liability for prescribing ivermectin, or use any similar language

indicating that the statements determine rights, obligations, or legal consequences.” 2022 WL

17578869, at *7.

       5.      The case is now on appeal to the Fifth Circuit. Undersigned does not yet have a

transcript of the argument and will review to see if the audio is available online to verify the

concession by the FDA and advise of the same in Defendants’ Reply to Response to Motion for

Summary Judgment.

       6.      Recall the Plaintiffs’ Amended Complaint: “Plaintiff allege that Karas Defendants

knowingly and intentionally disregarded U.S. Food and Drug Administration (FDA) warnings by

administering the dewormer Ivermectin to them as a supposed treatment for COVID-19 ….” Doc.

No. 34, p. 1. Then, of course, Plaintiffs attempt to make their (presumably) real claim that the

Plaintiffs (except Fritch of course) failed to give prior informed consent. That too is denied and

has been fully briefed. Again, it is undisputed Dr. Karas did no experiment, and relied on other

physicians, FLCCC guidance and studies the FLCCC collected, and his own two decades of

practicing medicine in creating a protocol to treat COVID.


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        7.      As stated, Plaintiffs in Apter et al. appealed to the Fifth Circuit. But the resolution

of that case doesn’t matter. The FDA via counsel conceded at oral argument that “FDA explicitly

recognizes that doctors do have the authority to prescribe ivermectin to treat COVID.” And as this

Court is aware, concessions by Counsel are routinely used in later-drafted opinions against the

party whose Counsel made the concession.

        8.      So, the point of this Notice or Alternative Motion for Leave to Supplement is as

follows: there is no claim in this case that the use of Ivermectin in and of itself to treat COVID is

a violation of any law including but not limited the United States Constitution. There is also no

claim in this case of an alleged non-existent experiment viewing the plain and unambiguous

language of the Counts in the Amended Complaint and the undisputed facts.

        9.      The two claims are as follows: Plaintiffs allege they did not give informed consent

to someone, but not any of the Defendants before the Court because it is undisputed Dr. Karas and

Sheriff Helder never treated or had contact with the Plaintiffs. Second, Plaintiffs allege a state law

battery, which too should fail for the reasons already discussed in the pending motion for summary

judgment.

        10.     But at this stage of the proceedings, any attempt to rely on the FDA and its “quips,”

has no basis and should be disregarded. Defendants submit this Notice so that the Court has all of

the facts and, frankly, the truth.

        WHERFORE, Defendants respectfully request that Defendants’ motion for leave be

granted, motion for summary judgment be granted, and the case dismissed with prejudice, and all

other just and proper relief.

                                               Respectfully submitted,

                                               Tim Helder, et al.
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                                 Defendants

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